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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE FIRSTENERGY CORP.
SECURITIES LITIGATION,

This document relates to:                            Civil Action 2:20-cv-3785
                                                     Chief Judge Algenon L. Marbley
                                                     Magistrate Judge Jolson
       ALL ACTIONS.



                                             ORDER

       This matter is before the Court on the parties’ January 9, 2023 Joint Status Report (Doc. 397).

No active disputes were raised in the report. Accordingly, the Court VACATES the hearing set for

January 12, 2023, at 11:00am.

       IT IS SO ORDERED.



Date: January 10, 2023                        /s/ Kimberly A. Jolson
                                              KIMBERLY A. JOLSON
                                              UNITED STATES MAGISTRATE JUDGE
